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             EXHIBIT C
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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


MI FAMILIA VOTA, TEXAS STATE
CONFERENCE OF THE NATIONAL
ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE,
MICAELA RODRIGUEZ and
GUADALUPE TORRES

Plaintiffs                                                No. SA-20-CV-00830-JKP

v.

GREG ABBOTT, Governor of Texas; RUTH
HUGHS, Texas Secretary of State,

Defendants



                                                ORDER

        This matter came before the Court in a status conference on this day. The Court heard the

parties’ representations regarding the status of this matter and a potential briefing schedule with regard

to Plaintiffs’ Motion for Temporary Restraining Order and Preliminary Injunction. Also before the

Court at the status hearing is Plaintiffs’ Motion to Appear Remotely for the hearing on Plaintiffs’

motion scheduled on October 26, 2020. ECF No. 58. Plaintiffs’ Motion to Appear Remotely is

GRANTED in part and DENIED in part.

        At the status conference, the parties agreed the motion before the Court is a Motion for

Preliminary Injunction, and it will hereafter be treated as such. The parties agreed to an expedited

briefing schedule on the Motion for Preliminary Injunction as follows: Defendants’ brief in Response

to the motion shall be filed on or before 12 noon on Saturday, October 24, 2020. Plaintiffs’ Reply

brief shall be filed on or before 3 p.m. on Sunday, October 25, 2020. The parties agreed to confer on

Sunday afternoon to reach agreement on exhibits to be admitted at the hearing. The parties shall email
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the agreed exhibits to Magda Muzza, the Courtroom Deputy and shall bring a jump drive with the

exhibits to the hearing.

        In addition, Plaintiffs shall file an Amended Complaint on or before 12 noon on Saturday,

October 24, 2020. The Amended Complaint shall state the single, narrow cause of action remaining,

the basis of this cause of action and specific statute challenged and shall specifically state the relief

requested.

        An in-person hearing is scheduled for Monday, October 26, 2020 at 9:00 AM on the

Motion for Preliminary Injunction in Courtroom 4, on the Third Floor of the John H. Wood, Jr.

United States Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX. Each party

will be allotted one hour to present evidence, witnesses and argument. Each party will be

allowed two attorneys to present their case.

        In their Motion to Appear Remotely, Plaintiffs request that all counsel appear remotely

for this hearing. This motion is GRANTED in part and DENIED in part. Upon their choice to do

so, Plaintiffs and all Plaintiffs’ counsel and Plaintiffs’ witnesses may appear remotely.

Defendants’ counsel chooses to appear in person and to present evidence and argument in

person. Defendants’ counsel shall be allowed to appear in person. Defendants shall be allowed

three attorneys to appear in the courtroom. All counsel for either party who so chooses may

attend through the Zoom video conference; however, only the two designated attorneys for each

party will be allowed to speak.

        In compliance with the Ninth Supplemental Order Regarding Court Operations Under

the Exigent Circumstances Created by the Covid-19 Pandemic, dated October 14, 2020, no one

will be permitted to enter the courthouse without wearing a mask deemed to be adequate by

Court Security. All persons must wear a mask at all times when in the public areas of the

courthouse and in the courtroom when not speaking. Anyone entering the Courthouse must


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present a photo ID and must pass any screening procedures and comply with social-distancing

instructions as directed by Court Security. A nurse will be present to conduct an appropriate

health screening and will have authority to deny admittance to any person who does not pass the

screening protocol. Counsel are advised to arrive early enough to allow for these additional

screening procedures.

       All Counsel should contact Magda Muzza, the Courtroom Deputy, to receive video sign-in

information. Ms. Muzza can be reached at (210) 244-5021 or Magda_Muzza@txwd.uscourts.gov. The

hearing will be recorded by a Court Reporter. Any other recording of the proceeding is prohibited.



       It is so ORDERED.
       SIGNED this 23rd day of October, 2020.




                                            JASON PULLIAM
                                            UNITED STATES DISTRICT JUDGE




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